               Case 23-11069-CTG              Doc 1267         Filed 12/04/23        Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )    Chapter 11
                                                                  )
                                                                  )    Case No. 23-11069 (CTG)
                                                                  )
                                                                  )    (Jointly Administered)
In re:                                                            )
                                                                  )    Re: Docket No. 575
YELLOW CORPORATION, et al., 1                                     )
                                                                  )    Rescheduled     Sale    Objection
                          Debtors.                                )    Deadline, Adequate Assurance
                                                                  )    Objection Deadline, and Sale
                                                                  )    Hearing for Debtors’ Remaining
                                                                  )    Properties (Defined Below): Date
                                                                  )    and Time to Be Determined

              NOTICE OF RESCHEDULED SALE OBJECTION DEADLINE,
         ADEQUATE ASSURANCE OBJECTION DEADLINE, AND SALE HEARING
             FOR CERTAIN OF THE DEBTORS’ REAL PROPERTY ASSETS

       PLEASE TAKE NOTICE that, on September 15, 2023, the Court entered that certain
Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B)
Scheduling Auctions and Approving the Form and Manner of Notice Thereof; (C) Approving
Assumption and Assignment Procedures (D) Scheduling Sale Hearings and Approving the Form
and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear
of Liens, Claims, Interests, and Encumbrances and (B) Approving the Assumption and
Assignment of Executory Contracts and Unexpired Lease; and (III) Granting Related Relief
[Docket No. 575] (the “Bidding Procedures Order). 2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures Order,
the (i) Bid Deadline for the Debtors’ Real Property Assets (including Owned Properties and
Leased Properties) occurred on November 9, 2023 at 5:00 p.m. (E.T.), (ii) the Auction for such
Real Property Assets (the “Real Estate Auction”) commenced on November 28, 2023, at 9:00
a.m. (E.T.), and (iii) a Sale Hearing to consider the approval of Winning Bid(s) (and Back-Up
Bid(s), as applicable) for such Real Property Assets is scheduled to take place on December 12,
2023 at 10:00 a.m. (E.T.).

          PLEASE TAKE FURTHER NOTICE that, contemporaneously herewith, the Debtors

1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.
2
    Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the
    Bidding Procedures Order.
             Case 23-11069-CTG        Doc 1267     Filed 12/04/23    Page 2 of 3




filed that certain Notice of Winning Bidders and, As Applicable, Back-Up Bidders for Certain of
the Debtors’ Real Property Assets (the “Notice of Winning Bidders”).

       PLEASE TAKE FURTHER NOTICE that, as set forth in the Notice of Winning
Bidders: (1) the Debtors have concluded bidding for certain of their Real Property Assets (the
“Won Properties”) and (2) the Real Estate Auction (as defined in the Notice of Winning Bidders)
and/or marketing efforts for certain other Real Property Assets (the “Remaining Properties”)
remains ongoing. Accordingly, with respect to the Remaining Properties, the Sale Objection
Deadline, the Adequate Assurance Objection Deadline, and the Sale Hearing (each as
defined in the Bidding Procedures Order) are hereby rescheduled, in each case, to a date
and time to be determined.

         PLEASE TAKE FURTHER NOTICE that, with respect to the Won Properties only
(i.e., the “Initial Sales” as defined in the Notice of Winning Bidders), the Sale Objection
Deadline (December 8, 2023 at 5:00 p.m. (ET)), the Adequate Assurance Objection Deadline
(same), and the Sale Hearing (December 12, 2023 at 10:00 a.m. (ET)) remain unchanged and as
set forth in the Bidding Procedures Order.



                         [Remainder of Page Intentionally Left Blank]




                                              2
            Case 23-11069-CTG   Doc 1267       Filed 12/04/23   Page 3 of 3



Dated: December 4, 2023
Wilmington, Delaware

/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)    Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)    David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)       Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)         KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP      KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor    300 North LaSalle
P.O. Box 8705                          Chicago, Illinois 60654
Wilmington, Delaware 19801             Telephone:       (312) 862-2000
Telephone:       (302) 652-4100        Facsimile:       (312) 862-2200
Facsimile:       (302) 652-4400        Email:           patrick.nash@kirkland.com
Email:           ljones@pszjlaw.com                     david.seligman@kirkland.com
                 tcairns@pszjlaw.com                    whitney.fogelberg@kirkland.com
                 pkeane@pszjlaw.com
                 ecorma@pszjlaw.com    -and-

                                       Allyson B. Smith (admitted pro hac vice)
                                       KIRKLAND & ELLIS LLP
                                       KIRKLAND & ELLIS INTERNATIONAL LLP
                                       601 Lexington Avenue
                                       New York, New York 10022
                                       Telephone:     (212) 446-4800
                                       Facsimile:     (212) 446-4900
                                       Email:         allyson.smith@kirkland.com

                                       Co-Counsel for the Debtors and Debtors in
                                       Possession
